                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION



 ANDREW CORZO, SIA HENRY, ALEXANDER LEO-
 GUERRA, MICHAEL MAERLENDER, BRANDON
 PIYEVSKY, BENJAMIN SHUMATE, BRITTANY
 TATIANA WEAVER, and CAMERON WILLIAMS,
 individually and on behalf of all others similarly situated, Case No. 1:22-cv-00125

                               Plaintiffs,

                        v.                                    Hon. Matthew F. Kennelly

 BROWN UNIVERSITY, CALIFORNIA INSTITUTE
 OF TECHNOLOGY, UNIVERSITY OF CHICAGO,
 THE TRUSTEES OF COLUMBIA UNIVERSITY IN
 THE CITY OF NEW YORK, CORNELL
 UNIVERSITY, TRUSTEES OF DARTMOUTH
 COLLEGE, DUKE UNIVERSITY, EMORY
 UNIVERSITY, GEORGETOWN UNIVERSITY, THE
 JOHNS HOPKINS UNIVERSITY, MASSACHUSETTS
 INSTITUTE OF TECHNOLOGY, NORTHWESTERN
 UNIVERSITY, UNIVERSITY OF NOTRE DAME DU
 LAC, THE TRUSTEES OF THE UNIVERSITY OF
 PENNSYLVANIA, WILLIAM MARSH RICE
 UNIVERSITY, VANDERBILT UNIVERSITY, and
 YALE UNIVERSITY,


                               Defendants.


       PLAINTIFFS’ MOTION TO COMPEL PRODUCTION IN RESPONSE TO
         PENDING REQUESTS FOR THE PRODUCTION OF DOCUMENTS

       Plaintiffs respectfully move to compel Defendants to produce responsive documents in

response to Plaintiffs’ pending requests for the production of documents, on the grounds set forth

in the supporting memorandum submitted on this same date and in the declarations and exhibits

submitted therewith, and as reflected in the Proposed Order that Plaintiffs are submitting herewith.
Dated: March 21, 2023

By:/s/Robert D. Gilbert                          /s/ Edward J. Normand Devin
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